Case 2:04-cv-02065-.]PI\/|-STA Document 18 Filed 05/31/05 Page 1 of 2 Page|D 30
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WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

JAMES HENDERSON, JUDGMENT IN A CIVIL CASE
Plaintiff.

v.

OFFICER COHEN, et al., CASE NO: 04-2065 Ml/An

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order of Dismissal and Order Certifying
Appeal Not Taken in Good Faith entered May<jiL, 2005, this case
iS DISMISSED.

APPROVED:

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ON P. MCCALLA
UN TED STATES DISTRICT JUDGE

//)/)Dr \3/_ ZOO§ 'i-' l"~'YBERTR. D|TRC"'Z
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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02065 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Debra L. Fessenden

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Honorable J on McCalla
US DISTRICT COURT

